983 F.2d 1052
    Trinsey (John S., Jr.)v.U.S., Nassau Savings &amp; Loan; In re Trinsey (John S., Jr.) v.U.S., Nassau Savings &amp; Loan, Gulph Woods Corporation;Trinsey (John S., Jr.) v. U.S., Nassau Savings &amp; Loan,O'Connell (James J.); Trinsey (John S., Jr.)
    NOS. 92-1564, 92-1568
    United States Court of Appeals,Third Circuit.
    Dec 21, 1992
    
      Appeal From:  E.D.Pa.,
      Pollak, J.
    
    
      1
      AFFIRMED.
    
    